     Case 2:21-cv-01478-MAA Document 22 Filed 10/05/21 Page 1 of 2 Page ID #:4211




 1                                                                    JS-6
     TRACY L. WILKISON
 2   Acting United States Attorney
     DAVID M. HARRIS
 3   Assistant United States Attorney
 4   Chief, Civil Division
     CEDINA M. KIM
 5
     Assistant United States Attorney
 6   Senior Trial Attorney, Civil Division
 7   JENNIFER A. KENNEY, CSBN 241625
     Special Assistant United States Attorney
 8         160 Spear Street, Suite 800
 9         San Francisco, CA 94105
           Telephone: (510) 970-4825
10
           Facsimile: (415) 744-0134
11         E-Mail: Jennifer.A.Kenney@ssa.gov
12
     Attorneys for Defendant Commissioner of Social Security

13
                        UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15                               WESTERN DIVISION
16
17   JOICE ANN HARROLD,                      ) Case No.: 2:21-cv-01478-MAA
18
                                             )
     Plaintiff,                              ) [PROPOSED] JUDGMENT OF
19                                           ) REMAND
20          v.                               )
                                             )
21
     KILOLO KIJAKAZI,                        )
22   Acting Commissioner of Social Security, )
                                             )
23
     Defendant.                              )
24
           The Court having approved the parties’ Stipulation to Voluntary Remand
25
26   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
27
     (“Stipulation to Remand”) lodged concurrent with the lodging of the within
28
     Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
     Case 2:21-cv-01478-MAA Document 22 Filed 10/05/21 Page 2 of 2 Page ID #:4212




 1   DECREED that the above-captioned action is remanded to the Commissioner of
 2
     Social Security for further proceedings consistent with the Stipulation
                                                                    p        to Remand.
 3
 4
 5
 6   Date:     10/05/21
                                           HON.
                                            ON.. MARIA
                                                 MARIA A. AUDERO
                                                          AU
                                                           UDERO
 7
                                           UNITED
                                            NITED STATES MAGISTRATE JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
